. ..    Case 3:19-bk-30822          Doc 80    Filed 07/24/19 Entered 07/24/19 12:28:25
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       LBR Form 7016-1 -Attachment A
                                        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF OHIO                        20 19 JUL 2t. AM 11 : 4 .
                                              WESTERN     DIVISION
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       CASE NO.   19-30822                                                    CHAPTER U~S'J• BA''·"     1:>-\ c·<' y CO·'
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                                             CONTESTED MATIER LJ
                                             ADV. PRO. NO. _ _ _ _ __

       WITNESS(ES) TO BE CALLED BY __
                                    Jo_n_H_a_g_er_ _ _ _ _ _ _ _ _ _ _ _ _ __


                        NAME & ADDRESS                                  SYNOPSIS OF TESTIMONY

                                                          Testify to salary accrual for Jon Hager
         Lou Fernandez
         4437 Stonehaven Dr.                              Testify confirming accrual December 2016
         Long Grove, IL 60047
                                                          Testifv whether accrual continued, if not whv
                                                          Testify closure of Salem office and why vendor bills not paid

                                                          Testify that I had an executed contract with Tagnetics
         Ronald Earley
         6429 Winding Tree Dr.                             Testify that I was never terminated
         New Carlisle, OH 45344
                                                           Testify that I had asked about my accrued salary

                                                           Testify that he discussed accrued salary with BOD
          Kenneth W. Kayser                               Testify that I was never terminated
          PO Box 115
          Catawba, VA 24070                               Testify that I asked about accrued salary multiple times
                                                          Testify that he discussed accrued salaries with BOD/CEO

                                                           Testify that CEO spoke of deals to be that would repay




                                USE ADDITIONAL SHEET(S) FOR ADDITIONAL WITNESSES
